                        UNITED STATES DISTRICT COURT
USDC IN/ND case 3:10-cr-00049-JD-MGG   document 41 filed 06/18/10
                        NORTHERN DISTRICT OF INDIANA
                                                                                        page 1 of 2
                                    SOUTH BEND DIVISION


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )              CAUSE NO. 3:10cr49 RLM
                                              )
ARMAND WHITE                                  )

                            FINDINGS AND RECOMMENDATION
                               OF THE MAGISTRATE JUDGE
                                UPON A PLEA OF GUILTY


       On June 9, 2010, the Honorable Robert L. Miller, Jr., District Judge, referred this case to

the undersigned to make findings as to whether the defendant (1) is competent to enter a plea; (2)

knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the charge(s);

(4) whether there exists a factual basis for the charge(s); and a recommendation as to whether a

plea of guilty should be accepted by the United States District Court Judge. On June 18, 2010, a

hearing was held on the defendant’s request to enter a plea of guilty. Appearing for the United

States was Assistant United States Frank E. Schaffer. Appearing for the defendant was Kurt R.

Earnst; the defendant was personally present. With the written consent of defendant, his counsel

and the counsel for the United States, the undersigned proceeded to conduct the hearing.

       In consideration of that hearing and the statements made by the defendant under oath on

the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

of counsel for defendant,

       I FIND as follows:

       (1) that defendant is competent to plead guilty;

       (2) that the defendant understands that his answers may later be used against him in a

prosecution for perjury or false statement;

       (3) that defendant understands the nature of the charge against him to which the plea is
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 offered;

        (4) that the defendant understands the charge and what the maximum possible sentence is,

including the effect of the supervised release term, and defendant understands that the sentencing

guidelines apply and that the Court may depart from those guidelines under some circumstances;

        (5) that the defendant understands his right to trial by jury, to persist in his plea of not

guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

        (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

is not the result of force or threats or of promises apart from the plea agreement between the

parties; and,

        (7) that there is a factual basis for the defendant’s plea.

        In light of those findings, I now recommend that; (1) the Court accept the defendant’s

plea of guilty (2) that the defendant be adjudged guilty of Counts 1 and 2 of the Indictment, in

violation of Title 18, U.S.C. §2113(d) and 2 and Title 18, U.S.C. §924(c) and have sentence

imposed. A Presentence Report has been ordered. Should this Report and Recommendation be

accepted and the Defendant adjudged guilty, sentencing has been scheduled for September 24,

2010 at 1:00 p.m. (EDT), before Judge Robert L. Miller, Jr. Sentencing memorandum and any

motions shall be filed no later than September 17, 2010. Objections to the Findings and

Recommendation are waived unless filed and served within ten (10) days. 28 U.S.C. §

636(b)(1)(B).

        DATED: June 18, 2010

                                                         s/Christopher A. Nuechterlein
                                                         Christopher A. Nuechterlein
                                                         United States Magistrate Judge




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